Case 1:24-cv-25046-RAR Document 64 Entered on FLSD Docket 03/27/2025 Page 1 of 1



                           UNITED STATES DISTRICT COURT FOR THE

                                SOUTHERN DISTRICT OF FLORIDA

                                            MIAMI DIVISION

                                        CASE NO. 1:24-cv-25046

   XYZ CORPORATION,

   Plaintiff,

   v.

   THE INDIVIDUALS, PARTNERSHIPS AND

   UNINCORPORATED ASSOCIATIONS IDENTIFIED

   ON SCHEDULE “A”,

   Defendants.

   _________________________________________________/

                NOTICE OF VOLUNTARY DISMISSAL AS TO HONGTAINI09 ONLY


   PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned counsel,

   Plaintiff hereby voluntarily dismisses with prejudice all claims against hongtaini09 (Def. No. 117) who

   owns and operates the online marketplace accounts identified by the Walmart accounts

   https://www.walmart.com/global/seller/102495460 with Store id: 102495460


   Respectfully submitted on this 27th day of March, 2025.


                                                                    FELDENKRAIS LAW, P.A.

                                                                    Attorneys for Plaintiffs

                                                                    20533 Biscayne Blvd. Suite 469

                                                                    Aventura, FL 33180

                                                                    Telephone: (305) 528-9614

                                                                    Email: mfeldenkrais@gmail.com

                                                                    By:/s/ Michael Feldenkrais, Esq.

                                                                    Florida Bar No. 991708
